   USDC IN/ND case 2:18-cv-00318-JTM document 55 filed 03/04/22 page 1 of 7



                             IN THE
                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                       HAMMOND DIVISION

                        Cause No. 2:18-cv-00318-JTM-JEM

KARMEN LEE DAVIS,                                                             Plaintiff,
   v.
ARCELORMITTAL USA, LLC,
(formerly Arcelormittal Indiana Harbor, LLC),                                 Defendant.

               MEMORANDUM IN SUPPORT OF RESPONSE TO
          DEFENDANT’S SECOND MOTION FOR SUMMARY JUDGMENT

                                  I. INTRODUCTION

     This civil action was brought, in part, by Plaintiff, Karmen Lee Davis [Karmen], against

her employer, Arcelormittal USA, LLC (formerly Arcelormittal Indiana Harbor, LLC)

[Defendant], because of a hostile work environment which caused Karmen in her pursuit of

employment to suffer discrimination based on her disability in violation of federal

discrimination laws causing Plaintiff to suffer mental anguish, humiliation, diminishment of

her quality of life, lost income and employment benefits.

            II. DESIGNATED MATERIALS RELIED UPON FOR SUPPORT

     A.   All materials listed by Defendant in support of its Second Motion for Summary

Judgment.

     B.   Affidavit of Karmen Davis, Plaintiff’s Exhibit 1 [Karmen Aff].

     C.   Second Affidavit of Karmen Davis, Plaintiff’s Exhibit 5 with attached Exh 4.

     D.   Plaintiff’s Amended Complaint filed in this matter.
   USDC IN/ND case 2:18-cv-00318-JTM document 55 filed 03/04/22 page 2 of 7


                    III. STATEMENT OF DISPUTED MATERIAL FACTS

      A.    On or about July 12, 2016, Karmen’s PTSD diagnosis was presented by her supervisor,

John (Hulio) Martinez (Martinez):

            1.   Without Karmen’s permission as part of a training class in which he knew she was

                 participating;

            2.   He referred to Karmen as being “crazy” causing her to suffer a breakdown in the

                 training class;

            3.   This as she tried to explain the difficulty of being in that type of environment [Pltf

                 Exh 1, ¶I.1, pg 1; Pltf Exh 4, pgs 4, 7].

      B.    As a result, Karmen suffered another breakdown; and

            1.   Was sent to the company clinic therapist, Ray Wojohoski

            2.   As ordered by Martinez; and

            3.   Another manager, Steve Keck [Pltf Exh 1, ¶I.2-3, pg 1; Pltf Exh 4, pg 7].

      C.    The discussion with Ray was about Karmen’s PTSD and this episode with Martinez [Pltf

Exh 1, ¶I.4, pgs 1-2].

      D.    The Clinic had full knowledge of Karmen’s condition [Pltf Exh 1, ¶I.5, pg 2: Pltf Exh

4, Pg 4].

      E.    Jennifer Spiegel, Human Resources, denied Karmen even had a disability because

PTSD was a mental and only physical problems can be a disability. Further, she stated that only

physical restrictions would be honored [; Pltf Exh 4, pg 3]

      F.    When Karmen complained to management about Martinez’s actions, nothing was done

about him and nothing changed [Pltf Exh 1, ¶I.6, pg 2].

      G.    Despite Karmen’s attempt later to stay away from Martinez:


                                                 -2-
  USDC IN/ND case 2:18-cv-00318-JTM document 55 filed 03/04/22 page 3 of 7


         1.   He often came into the scrap trailer where Karmen worked; and

         2.   Within the conversations threatened to “put me back into the shop.”

         3.   This pattern of behavior was condoned by Defendant time after time: and

         4.   Only ceased when Martinez was finally released from any position at Defendant’s

              facility as of January 10, 2020 [Exh 1, Karmen Aff, pgs 1-2; Amended Complaint,

              pg 4-6, ¶¶VI.D-G].

    H.   Jose Flores, Sr. was employed by Defendant from 2007 to the present;

         1.   Jose worked under the direct supervision of Martinez; and

         2.   Was constantly harassed by Martinez; however

         3,   Jose’s two complaints to Defendant’s Human Resources Department about the

              harassment resulted in no action being taken [Exh 2, Flores Affidavit].

    I.   Trent Briner:

         1.   Is an outside contract driver who delivers scrap and raw material to Defendant’s

              plants.

         2.   Immediately after 2SP closed in May of 2017:

              a.    Trent continued to deliver to the 4SP scrap yard to Karen Johnson; and

              b.    New hire, Scott Moore, the new scrap inspecter who was being trained by

                    Johnson [Exh 3, Trent Briner Affidavit].

    J.   All the facts set forth in Defendant’s “Statement of Material Facts,” Parts A-E.

    K.   Plaintiff filed her Charge of Discrimination with the Equal Employment Opportunity

Commission (EEOC) as Charge Number 846-201730278 on September 6, 2017.

         1.   She amended it on or about July 28, 2017 and January 15, 2018 by two letters

              directed to the EEOC [ Pltf Exh 5, ¶¶ 3, 4; Pltf Exh 4, pgs 3-6 and 7-11].


                                             -3-
   USDC IN/ND case 2:18-cv-00318-JTM document 55 filed 03/04/22 page 4 of 7


           2.   The EEOC issued a “Notice of Right to Sue” to Plaintiff on or about May 29,

                2018, which she received on or after June 4, 2018 [Amended Complaint,

                Paragraph II.E, Pg 2].

     L.    All the facts set forth in Pltf Exh 5 and attached Exh 4 are incorporated by reference

           and made a part of this “Statement of Disputed Material Facts.”

                                   IV. AMENDED CHARGE

     In lieu of Part F of Defendant’s “Statement of Material Facts,” the Court is directed to Pltf

Exh 5 and her attached Exh 4 which sets out Plaintiff’s Amended Charge submitted to the EEOC.

     Defendant argues that Plaintiff failed to exhaust her administrative remedies; however, that

is not true. Plaintiff amended her charge on July 28, 2017 and January 15, 2018, well before the

EEOC issued its Notice of Right to Sue onMay 29, 2018. The amended charge contains a litany

of facts when taken as a whole allege a hostile work environment because of her disabilities. It

is not likely that a single act or statement will state a claim for a hostile work environment.

However, that is not what Plaintiff faced. The undisputed facts show that Karmen was constantly

being challenged and tested keeping her from working when she had a job that she could do

despite her disability which was jerked from her grasp based on pretextual reasons.

     That Plaintiff was not sophisticated enough to use the magic words “hostile work

environment“ or a similar phrase is of no moment. The EEOC explains, “Harassment becomes

unlawful where 1) enduring the offensive conduct becomes a condition of continued employment,

or 2) the conduct is severe or pervasive enough to create a work environment that a reasonable

person would consider intimidating, hostile, or abusive [https://www.eeoc.gov/harassment].” See

Townsend v. Benjamin Enterprises, Inc, 679 F.3d 41, 53 (2d Cir. 2012) ("The EEOC's Enforcement

Guidance [interpreting Title VII] is entitled to deference to the extent it has the power to


                                               -4-
   USDC IN/ND case 2:18-cv-00318-JTM document 55 filed 03/04/22 page 5 of 7


persuade.") “Our case law is clear that when the same individuals engage in some harassment that

is explicitly discriminatory and some that is not, the entire course of conduct is relevant to a hostile

work environment claim.” Rasmy v. Marriott Int’l Inc., 952 F3d 379, 388 (2nd Cir 2020).            This

suggests that we should look at what is going on from the employee’s point of view; rather, than

the employer’s view point. If we do not, then the law cannot do what was intended when enacted.

                          V. ARGUMENT ON MARTINEZ PROBLEM

      Not really addressed by Defendant’s Motion for Summary Judgment is Karmen’s stated

claim of discriminatory harassment based on her disability (Martinez Problem). [Karmen Aff, pgs

1-2; Amended Complaint, pgs 4-5, ¶¶D-E (Complaint)]. See Def Memo, pg 23, ¶A.1.b.2. In that

sub-paragraph, Defendant claims that the Martinez Problem was not brought to the attention of

Karmen’s employer. Even if that was true, it necessarily implies that Martinez was just another

employee; however, that was not the case since he was her direct supervisor. See Exh 1, Karmen

Aff, pgs 1-2 and Exh 2, Flores Affidavit.

      In the case of Vance v Ball State University, 570 US 421 (2013), the Court in a Title VII case

held that an employee is a supervisor for purposes of vicarious liability if he or she is is

empowered by the employer to take tangible employment actions against the victim.                   See

[https://www.supremecourt.gov/opinions/12pdf/11-556_11o2.pdf]             That is what Martinez did

repeatedly.

      The EEOC in its “Enforcement Guidance on Vicarious Employer Liability for Unlawful

Harassment by Supervisors” opined that the vicarious liability rule formulated by the Vance Court

applies to unlawful harassment on all covered bases. In its notes, the EEOC listed the Courts

which appear to have followed the rule in other types of discrimination cases. See

[https://www.eeoc.gov/laws/guidance/enforcement-guidance-vicarious-liability-unlawful-harass


                                                  -5-
   USDC IN/ND case 2:18-cv-00318-JTM document 55 filed 03/04/22 page 6 of 7


ment-supervisors]. Defendant makes no claim nor offers evidence that Martinez was not a

supervisor employed by Defendant and had take action against his victim, Karmen.

     Since Martinez was Karmen’s supervisor and did a number of things affecting her work and

assignments based on her disabilities, Defendant is vicariously liable for Martinez’s methods and

misdeeds including disability discrimination or harassment. The undisputed facts show that

Karmen has stated a claim against Defendant for the violations committed by Martinez against

Karmen set forth above. As to that claim, Defendant’s motion for summary judgment should be

denied.

                                  VI. THE SILK ARGUMENT

     Defendant argues that the test for a hostile work environment is a higher hurdle than the

evidence Plaintiff presents because the Seventh Circuit had raised the bar in Silk v City of Chicago,

194 F3rd 788 (7th Cir 1999). That as bad as the environmental harassment was for the Plaintiff,

Officer Silk, did not show that it altered the conditions of his employment, that is, it had little or

no effect on his job. Id. At 807-08. This is not the case with Karmen’s job where the obstacles to

her working were continuous forcing her not to work for long periods of time. Except for the

time she worked at a Scrap Inspector for three years, her path of employment was hurdle after

hurdle caused by the harassment detailed above. See Pltf Exh 4. Pgs 3-11.

     Karmen faced not only challenges to her mental state because of the comments, she faced

demands for medical proof when the PTSD she suffered was recognized and real. She could do

the job as Scrap Inspector, but that was denied because someone else had the job and at another

time that the job no longer existed when if fact it did. Those moves kept her from doing the job

she proved she could do. That was an alteration of her employment that rose to above the

standard set by the Silk court. This case should go to trial and to allow the trier of fact decide who


                                                 -6-
   USDC IN/ND case 2:18-cv-00318-JTM document 55 filed 03/04/22 page 7 of 7


to believe or not.

                                     VII. CONCLUSION

      For the reasons discussed above, Plaintiff requests the Court to deny Defendant’s Second

Motion for Summary Judgment          and to grant any other relief appropriate under the

circumstances.

                                           Respectfully submitted
                                           /S/ John Emry
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                                  CERTIFICATE OF SERVICE

    I certify that Plaintiff’s Memorandum in Support of Response to Defendant’s Second

Motion for Summary Judgment” with Exhibits 5 and 4 were e-filed via the CM/ECF system

on March 4, 2022, with notification to all counsel of record.

                                           /S/ John Emry
                                           John Emry
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                                             -7-
